         Case 1:23-cv-03257-JMC Document 52 Filed 09/12/24 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


   KALSHIEX LLC,

                    Plaintiff,
                                                     Civil Action No. 1:23-cv-03257 (JMC)
        v.

   COMMODITY FUTURES TRADING
   COMMISSION,

                    Defendant.


                                    NOTICE OF APPEAL

Notice is hereby given this 12th day of September, 2024, that the Commodity Futures Trading

Commission hereby appeals to the United States Court of Appeals for the District of Columbia

Circuit from the judgment of this Court entered on the 6th day of September, 2024 [Dkt No. 47],

with a memorandum opinion issued today, [Dkt. No. 51] granting Plaintiff’s, KalshiEx LLC’s,

motion for summary judgment [Dkt No. 17] and denying Defendant’s cross-motion for summary

judgment [Dkt No. 30].



Dated: September 12, 2024                    Respectfully submitted,

                                             /s/ Raagnee Beri

                                               Senior Assistant General Counsel

                                             Robert A. Schwartz
                                              General Counsel
                                             Anne W. Stukes
                                              Deputy General Counsel
                                             Margaret P. Aisenbrey
                                              Senior Assistant General Counsel
                                             Conor B. Daly
                                              Counsel
                                             Commodity Futures Trading Commission
Case 1:23-cv-03257-JMC Document 52 Filed 09/12/24 Page 2 of 3



                           1155 21st Street, NW
                           Washington, D.C. 20581-0001
                           Phone: (202) 418-5986
                           rberi@cftc.gov
         Case 1:23-cv-03257-JMC Document 52 Filed 09/12/24 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on September 12, 2024, I served the foregoing on counsel of record

using this Court’s CM/ECF system.



                                                     /s/ Raagnee Beri
